      Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 1 of 31 PageID #:1




                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

                                                      )
JOSHUA FLYNN, Individually and On                     )
Behalf of All Others Similarly Situated,              ) Case No.
                                                      )
                                     Plaintiff,       )
                                                      )
                        v.                            ) CLASS ACTION COMPLAINT
                                                      )
                                                      )
EXELON CORPORATION, CHRISTOPHER                       ) JURY TRIAL DEMANDED
M. CRANE, JOSEPH NIGRO, JOSEPH                        )
DOMINGUEZ, and JEANNE M. JONES,                       )
                                                      )
                                                      )
                                  Defendants.         )


       Plaintiff Joshua Flynn (“Plaintiff”), individually and on behalf of all other persons similarly

situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against Defendants, alleges

the following based upon personal knowledge as to Plaintiff and Plaintiff’s own acts, and

information and belief as to all other matters, based upon, inter alia, the investigation conducted

by and through Plaintiff’s attorneys, which included, among other things, a review of the

Defendants’ public documents, conference calls and announcements made by Defendants, United

States (“U.S.”) Securities and Exchange Commission (“SEC”) filings, wire and press releases

published by and regarding Exelon Corporation (“Exelon” or the “Company”), analysts’ reports

and advisories about the Company, and information readily obtainable on the Internet. Plaintiff

believes that substantial evidentiary support will exist for the allegations set forth herein after a

reasonable opportunity for discovery.




                                                  1
      Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 2 of 31 PageID #:1




                       NATURE OF THE ACTION AND OVERVIEW

       1.      This is a federal securities class action on behalf of a class consisting of all persons

other than Defendants who purchased or otherwise acquired Exelon securities between February

9, 2019 and November 1, 2019, both dates inclusive (the “Class Period”), seeking to recover

damages caused by Defendants’ violations of the federal securities laws and to pursue remedies

under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and

Rule 10b-5 promulgated thereunder, against the Company and certain of its top officials.

       2.      Exelon was incorporated in 1999 and is headquartered in Chicago, Illinois. Exelon

is a utility services holding company that engages in energy generation and delivery businesses in

the U.S. and Canada.

       3.      Exelon owns various “Utility Registrants” that are regulated by State utility

commissions, including, among other entities, Commonwealth Edison (“ComEd”). ComEd’s

parent company is Exelon Utilities.

       4.      Throughout the Class Period, Defendants made materially false and misleading

statements regarding the Company’s business, operational and compliance policies. Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) Exelon

and/or its employees were engaged in unlawful lobbying activities; (ii) the foregoing increased the

risk of a criminal investigation into Exelon; (iii) ComEd’s revenues were in part the product of

unlawful conduct and thus unsustainable; and (iv) that, as a result, the Company’s public

statements were materially false and misleading at all relevant times.

       5.      On July 15, 2019, during pre-market hours, Exelon filed a Current Report on Form

8-K with the SEC, disclosing that both Exelon and ComEd had “received a grand jury subpoena




                                                  2
      Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 3 of 31 PageID #:1




from the U.S. Attorney’s Office for the Northern District of Illinois requiring production of

information concerning their lobbying activities in the State of Illinois.”

       6.      Then, on October 9, 2019, during pre-market hours, Exelon filed another Current

Report on Form 8-K with the SEC, disclosing that, on October 4, 2019, both Exelon and ComEd

“received a second grand jury subpoena from the U.S. Attorney’s Office for the Northern District

of Illinois that requires production of records of any communications with certain individuals and

entities, including Illinois State Senator Martin Sandoval.” That Current Report also disclosed

that, as far back as “[o]n June 21, 2019, the Exelon Corporation Board formed a Special Oversight

Committee, consisting solely of independent directors, to oversee [Exelon and ComEd’s]

cooperation and compliance with the subpoena, any further action taken by the U.S. Attorney and

any resulting actions that may be required or recommended.”

       7.      On October 15, 2019, shortly before the market closed, Exelon issued a press

release announcing the abrupt departure of Anne Pramaggiore (“Pramaggiore”), Chief Executive

Officer (“CEO”) of Exelon Utilities, and former President/CEO of ComEd. The Company’s

statement on Pramaggiore’s retirement offered no reason for her departure, but analysts following

the Company came to the conclusion that the criminal subpoenas and Pramaggiore’s abrupt

resignation were related.

       8.      On this news, Exelon’s stock price fell $2.15 per share, or 4.57%, to close at $44.91

per share on October 16, 2019.

       9.      Then, on October 31, 2019, during intraday trading, Exelon filed a Quarterly Report

on Form 10-Q with the SEC, disclosing that “[o]n October 22, 2019, the SEC notified Exelon and

ComEd that it has also opened an investigation into their lobbying activities.”




                                                  3
      Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 4 of 31 PageID #:1




       10.    On this news, Exelon’s stock price fell $1.17 per share, or 2.51%, to close at $45.49

per share on October 31, 2019.

       11.    Finally, on November 1, 2019, after the market opened, the Chicago Tribune

reported that “[a] source with knowledge of the case in Chicago” confirmed that “Pramaggiore is

one focus of the ongoing federal investigation.” According to the same article, “[t]he ComEd

lobbying investigation dates to at least mid-May, when the FBI executed search warrants at the

homes of former lobbyist Mike McClain of Quincy, a longtime confidant of House Speaker

Michael Madigan, and of former 23rd Ward Ald. Michael Zalewski” (emphasis added).

Additionally, “[t]he information sought by the FBI included records of communications among

Madigan, McClain and Zalewski about attempts to obtain ComEd lobbying work for Zalewski.”

       12.    On this news, Exelon’s stock price fell an additional $0.15 per share to close at

$45.34 per share on November 1, 2019—a total decline of 2.83% since the initial announcement

of the SEC investigation.

       13.    As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                                  JURISDICTION AND VENUE

       14.    The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the

SEC (17 C.F.R. § 240.10b-5).

       15.    This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act.




                                                4
      Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 5 of 31 PageID #:1




        16.     Venue is proper in this Judicial District pursuant to Section 27 of the Exchange Act

(15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b). Exelon is headquartered in this Judicial District,

Defendants conduct business in this Judicial District, and a significant portion of Defendants’

activities took place in this Judicial District.

        17.     In connection with the acts alleged in this complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not limited

to, the mails, interstate telephone communications, and the facilities of the national securities

markets.

                                               PARTIES

        18.     Plaintiff, as set forth in the attached Certification, acquired Exelon securities at

artificially inflated prices during the Class Period and was damaged upon the revelation of the

alleged corrective disclosures.

        19.     Defendant Exelon is a Pennsylvania corporation with its principal executive offices

located at 10 South Dearborn Street, P.O. Box 805379, Chicago, Illinois 60680-5379. The

Company’s securities have traded in an efficient market on the Nasdaq Stock Market

(“NASDAQ”), under the ticker symbol “EXC,” since market open on September 25, 2019. Before

trading on the NASDAQ, and since before the start of the Class Period, Exelon securities traded

on the New York Stock Exchange (“NYSE”), under the same ticker symbol.

        20.     Defendant Christopher M. Crane (“Crane”) has served as Exelon’s President and

CEO at all relevant times.

        21.     Defendant Joseph Nigro (“Nigro”) has served as Exelon’s Senior Executive Vice

President and Chief Financial Officer (“CFO”) at all relevant times.




                                                   5
      Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 6 of 31 PageID #:1




       22.     Defendant Joseph Dominguez (“Dominguez”) has served as ComEd’s CEO at all

relevant times. Even though ComEd is a private entity, Dominguez signed sworn certifications

pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”), which were appended as exhibits Exelon’s

SEC filings, attesting to the accuracy of the information therein.

       23.     Defendant Jeanne M. Jones (“Jones”) has served as ComEd’s Senior Vice

President, CFO and Treasurer at all relevant times. Jones also signed sworn SOX certifications

that were appended as exhibits to Exelon’s SEC filings, attesting to the accuracy of the information

therein.

       24.     Defendants Crane, Nigro, Dominguez, and Jones are sometimes referred to herein

as the “Individual Defendants.”

       25.     The Individual Defendants possessed the power and authority to control the

contents of Exelon’s SEC filings, press releases, and other market communications.              The

Individual Defendants were provided with copies of Exelon’s SEC filings and press releases

alleged herein to be misleading prior to or shortly after their issuance and had the ability and

opportunity to prevent their issuance or to cause them to be corrected. Because of their positions

with Exelon, and their access to material information available to them but not to the public, the

Individual Defendants knew that the adverse facts specified herein had not been disclosed to and

were being concealed from the public, and that the positive representations being made were then

materially false and misleading. The Individual Defendants are liable for the false statements and

omissions pleaded herein.




                                                 6
      Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 7 of 31 PageID #:1




                               SUBSTANTIVE ALLEGATIONS

                                           Background

        26.    Exelon was incorporated in 1999 and is headquartered in Chicago, Illinois. Exelon

is a utility services holding company that engages in energy generation and delivery businesses in

the U.S. and Canada.

        27.    Exelon owns various “Utility Registrants” that are regulated by State utility

commissions, including, among other entities, ComEd. ComEd’s parent company is Exelon

Utilities.

         Materially False and Misleading Statements Issued During the Class Period

        28.    The Class Period begins on February 9, 2019. On February 8, 2019, during after-

market hours, Exelon filed an Annual Report on Form 10-K with the SEC, reporting the

Company’s financial and operating results for the quarter and year ended December 31, 2018 (the

“2018 10-K”). For ComEd’s 2018 financial results, Defendants reported operating revenues of

$5.88 billion, operating income of approximately $1.15 billion, and net income of $664 million,

compared to operating revenues of approximately $5.54 billion, operating income of $1.32 billion,

and net income of $567 million for 2017.

        29.    The 2018 10-K touted both Exelon’s and ComEd’s adherence to a “Code of

Business Conduct,” which was appended as Exhibit 14 to the 2018 10-K (the “Code”). The Code,

as amended March 12, 2012, stated the following in relevant part with respect to lobbying:

        No Exelon personnel may engage in lobbying activities on behalf of the Company,
        testify or provide comments before any legislative committees for Exelon, or accept
        an appointment to an advisory or study group established by a legislative body or
        administrative agency on behalf of Exelon without first obtaining the approval of
        Government and Regulatory Affairs or the Legal Department. Government and
        Regulatory Affairs will also help ensure compliance with all lobbying registration,
        reporting, and disclosure requirements. All Exelon lobbyists are expected to follow



                                                7
      Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 8 of 31 PageID #:1




        both the letter and spirit of the lobbying laws and to maintain the highest standards
        of professional integrity.

        30.     Notwithstanding the Code, the 2018 10-K contained the merely generic, boilerplate

representation that Exelon’s and ComEd’s disclosure controls and procedures, despite purportedly

being effective as of December 31, 2018, were subject to “inherent limitations,” such as

“circumvent[ion] by the individual acts of some persons or by collusion of two or more people,”

which was plainly not tailored to Exelon’s and ComEd’s actual known legal risks with respect to

illegal lobbying activities.

        31.     Appended as Exhibits 32.1 and 32.2 to the 2018 10-K were signed SOX

certifications, wherein Defendants Crane and Nigro certified that “(i) the [2018 10-K] fully

complies with the requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934,

and (ii) the information contained in the [2018 10-K] fairly presents, in all material respects, the

financial condition and results of operations of Exelon Corporation.”

        32.     Appended as Exhibits 32.5 and 32.6 to the 2018 10-K were signed SOX

certifications, wherein Defendants Dominguez and Jones certified “that (i) the [2018 10-K] fully

complies with the requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934,

and (ii) the information contained in the [2018 10-K] fairly presents, in all material respects, the

financial condition and results of operations of Commonwealth Edison Company.”

        33.     On May 2, 2019, Exelon filed a Quarterly Report on Form 10-Q with the SEC,

reporting the Company’s financial and operating results for the quarter ended March 31, 2019 (the

“1Q19 10-Q”). For ComEd’s first quarter 2019 financial results, Defendants reported operating

revenues of approximately $1.41 billion, operating income of $276 million, and net income of

$157 million, compared to operating revenues of $1.51 billion, operating income of $292 million,

and net income of $165 million for the same quarter the year prior.

                                                 8
      Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 9 of 31 PageID #:1




       34.     The 1Q19 10-Q also contained the merely generic, boilerplate representation that

Exelon’s and ComEd’s disclosure controls and procedures, despite purportedly being effective as

of March 31, 2019, were subject to “inherent limitations,” such as “circumvent[ion] by the

individual acts of some persons or by collusion of two or more people,” which was plainly not

tailored to Exelon’s and ComEd’s actual known legal risks with respect their own, or their

employees’, illegal lobbying activities.

       35.     Appended as Exhibits 32.1 and 32.2 to the 1Q19 10-Q were signed SOX

certifications, wherein Defendants Crane and Nigro certified “that (i) the [1Q19 10-Q] fully

complies with the requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934,

and (ii) the information contained in the [1Q19 10-Q] fairly presents, in all material respects, the

financial condition and results of operations of Exelon Corporation.”

       36.     Appended as Exhibits 32.5 and 32.6 to the 1Q19 10-Q were signed SOX

certifications, wherein Defendants Dominguez and Jones certified “that (i) the [1Q19 10-Q] fully

complies with the requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934,

and (ii) the information contained in the [1Q19 10-Q] fairly presents, in all material respects, the

financial condition and results of operations of Commonwealth Edison Company.”

       37.     The statements referenced in ¶¶ 28-36 were materially false and misleading because

Defendants made false and/or misleading statements, as well as failed to disclose material adverse

facts about the Company’s business, operational and compliance policies.               Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) Exelon

and/or its employees were engaged in unlawful lobbying activities; (ii) the foregoing increased the

risk of a criminal investigation into Exelon; (iii) ComEd’s revenues were in part the product of




                                                 9
     Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 10 of 31 PageID #:1




unlawful conduct and thus unsustainable; and (iv) that, as a result, the Company’s public

statements were materially false and misleading at all relevant times.

                                  The Truth Begins to Emerge

       38.     On July 15, 2019, during pre-market hours, Exelon filed a Current Report on Form

8-K with the SEC, disclosing that both Exelon and ComEd had “received a grand jury subpoena

from the U.S. Attorney’s Office for the Northern District of Illinois requiring production of

information concerning their lobbying activities in the State of Illinois.”

       39.     On this news, Exelon’s stock price fell $0.18 per share, or 0.37%, to close at $48.88

per share on July 15, 2019. This stock price decline failed to correct the total inflation in the

Company’s securities prices because Exelon left specific details concerning the lobbying

investigation undisclosed, including the full history of this investigation and other details related

to the persons and entities involved in such investigation.

       40.     On October 9, 2019, during pre-market hours, Exelon filed another Current Report

on Form 8-K with the SEC, disclosing that, on October 4, 2019, both Exelon and ComEd “received

a second grand jury subpoena from the U.S. Attorney’s Office for the Northern District of Illinois

that requires production of records of any communications with certain individuals and entities,

including Illinois State Senator Martin Sandoval.” That Current Report also disclosed that, as far

back as “[o]n June 21, 2019, the Exelon Corporation Board formed a Special Oversight

Committee, consisting solely of independent directors, to oversee [Exelon and ComEd’s]

cooperation and compliance with the subpoena, any further action taken by the U.S. Attorney and

any resulting actions that may be required or recommended.”

       41.     On October 15, 2019, shortly before the market closed, Exelon issued a press

release announcing the abrupt departure of Pramaggiore, who served as CEO of Exelon Utilities,



                                                 10
      Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 11 of 31 PageID #:1




and former President/CEO of ComEd. The Company’s statement on Pramaggiore’s retirement

offered no reason for her departure, but analysts began to speculate that the criminal subpoenas

and Pramaggiore’s abrupt resignation were related.

        42.    On this news, Exelon’s stock price fell $2.15 per share, or 4.57%, to close at $44.91

per share on October 16, 2019.

        43.    Then, on October 31, 2019, during intraday trading, Exelon filed a Quarterly Report

on Form 10-Q with the SEC, reporting the Company’s financial and operating results for the

quarter ended September 30, 2019 (the “3Q19 10-Q”). The 3Q19 10-Q disclosed that on October

22, 2019, the SEC had notified Exelon and ComEd of its own investigation into their lobbying

activities.

        44.    Specifically, with respect to the ComEd lobbying investigation, the 3Q19 10-Q

merely stated the following, which completely ignored, among other relevant information, the

involvement of several U.S. politicians, the FBI in mid-May earlier that year, and Pramaggiore:

        Subpoenas (Exelon and ComEd). Exelon and ComEd received a grand jury
        subpoena in the second quarter of 2019 from the U.S. Attorney’s Office for the
        Northern District of Illinois requiring production of information concerning their
        lobbying activities in the State of Illinois. On October 4, 2019, Exelon and ComEd
        received a second grand jury subpoena from the U.S. Attorney’s Office for the
        Northern District of Illinois requiring production of records of any communications
        with certain individuals and entities. On October 22, 2019, the SEC notified Exelon
        and ComEd that it has also opened an investigation into their lobbying activities.
        Exelon and ComEd have cooperated fully and intend to continue to cooperate fully
        and expeditiously with the U.S. Attorney’s Office and the SEC. Exelon and ComEd
        cannot predict the outcome of the subpoenas or the SEC investigation.

(Emphasis in original.)

        45.    On this news, Exelon’s stock price fell $1.17 per share, or 2.51%, to close at $45.49

per share on October 31, 2019.




                                                11
     Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 12 of 31 PageID #:1




       46.     Finally, on November 1, 2019, after the market opened, the Chicago Tribune

reported that “[a] source with knowledge of the case in Chicago” confirmed that “Pramaggiore is

one focus of the ongoing federal investigation.” According to the same article, “[t]he ComEd

lobbying investigation dates to at least mid-May, when the FBI executed search warrants at the

homes of former lobbyist Mike McClain of Quincy, a longtime confidant of House Speaker

Michael Madigan, and of former 23rd Ward Ald. Michael Zalewski” (emphasis added).

Additionally, “[t]he information sought by the FBI included records of communications among

Madigan, McClain and Zalewski about attempts to obtain ComEd lobbying work for Zalewski.”

       47.     On this news, Exelon’s stock price fell an additional $0.15 per share to close at

$45.34 per share on November 1, 2019—a total decline of 2.83% since Exelon first disclosed the

SEC investigation.

       48.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                      PLAINTIFF’S CLASS ACTION ALLEGATIONS

       49.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise

acquired Exelon securities during the Class Period (the “Class”); and were damaged upon the

revelation of the alleged corrective disclosures. Excluded from the Class are Defendants herein,

the officers and directors of the Company, at all relevant times, members of their immediate

families and their legal representatives, heirs, successors or assigns and any entity in which

Defendants have or had a controlling interest.




                                                 12
     Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 13 of 31 PageID #:1




       50.       The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Exelon securities were actively traded on the

NASDAQ and NYSE. While the exact number of Class members is unknown to Plaintiff at this

time and can be ascertained only through appropriate discovery, Plaintiff believes that there are

hundreds or thousands of members in the proposed Class. Record owners and other members of

the Class may be identified from records maintained by Exelon or its transfer agent and may be

notified of the pendency of this action by mail, using the form of notice similar to that customarily

used in securities class actions.

       51.       Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

       52.       Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

no interests antagonistic to or in conflict with those of the Class.

       53.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

             •    whether the federal securities laws were violated by Defendants’ acts as alleged
                  herein;

             •    whether statements made by Defendants to the investing public during the Class
                  Period misrepresented material facts about the business, operations and
                  management of Exelon;

             •    whether the Individual Defendants caused Exelon to issue false and misleading
                  financial statements during the Class Period;

             •    whether Defendants acted knowingly or recklessly in issuing false and misleading
                  financial statements;

                                                  13
     Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 14 of 31 PageID #:1




             •     whether the prices of Exelon securities during the Class Period were artificially
                   inflated because of the Defendants’ conduct complained of herein; and

             •     whether the members of the Class have sustained damages and, if so, what is the
                   proper measure of damages.

       54.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation make it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

       55.       Plaintiff will rely, in part, upon the presumption of reliance established by the fraud-

on-the-market doctrine in that:

             •     Defendants made public misrepresentations or failed to disclose material facts
                   during the Class Period;

             •     the omissions and misrepresentations were material;

             •     Exelon securities are traded in an efficient market;

             •     the Company’s shares were liquid and traded with moderate to heavy volume
                   during the Class Period;

             •     the Company traded on the NASDAQ and NYSE, and was covered by multiple
                   analysts;

             •     the misrepresentations and omissions alleged would tend to induce a reasonable
                   investor to misjudge the value of the Company’s securities; and

             •     Plaintiff and members of the Class purchased, acquired and/or sold Exelon
                   securities between the time the Defendants failed to disclose or misrepresented
                   material facts and the time the true facts were disclosed, without knowledge of
                   the omitted or misrepresented facts.

       56.       Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

presumption of reliance upon the integrity of the market.



                                                   14
     Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 15 of 31 PageID #:1




        57.     Alternatively, Plaintiff and the members of the Class are entitled to the presumption

of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v.

United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material information in

their Class Period statements in violation of a duty to disclose such information, as detailed above.

                                             COUNT I

(Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                                   Against All Defendants)

        58.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        59.     This Count is asserted against Defendants and is based upon Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

        60.     During the Class Period, Defendants engaged in a plan, scheme, conspiracy and

course of conduct, pursuant to which they knowingly or recklessly engaged in acts, transactions,

practices and courses of business which operated as a fraud and deceit upon Plaintiff and the other

members of the Class; made various untrue statements of material facts and omitted to state

material facts necessary in order to make the statements made, in light of the circumstances under

which they were made, not misleading; and employed devices, schemes and artifices to defraud in

connection with the purchase and sale of securities. Such scheme was intended to, and, throughout

the Class Period, did: (i) deceive the investing public, including Plaintiff and other Class members,

as alleged herein; (ii) artificially inflate and maintain the market price of Exelon securities; and

(iii) cause Plaintiff and other members of the Class to purchase or otherwise acquire Exelon

securities and options at artificially inflated prices. In furtherance of this unlawful scheme, plan

and course of conduct, Defendants, and each of them, took the actions set forth herein.




                                                 15
     Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 16 of 31 PageID #:1




        61.     Pursuant to the above plan, scheme, conspiracy and course of conduct, each of the

Defendants participated directly or indirectly in the preparation and/or issuance of the quarterly

and annual reports, SEC filings, press releases and other statements and documents described

above, including statements made to securities analysts and the media that were designed to

influence the market for Exelon securities. Such reports, filings, releases and statements were

materially false and misleading in that they failed to disclose material adverse information and

misrepresented the truth about Exelon’s finances and business prospects.

        62.         By virtue of their positions at Exelon, Defendants had actual knowledge of the

materially false and misleading statements and material omissions alleged herein and intended

thereby to deceive Plaintiff and the other members of the Class, or, in the alternative, Defendants

acted with reckless disregard for the truth in that they failed or refused to ascertain and disclose

such facts as would reveal the materially false and misleading nature of the statements made,

although such facts were readily available to Defendants. Said acts and omissions of Defendants

were committed willfully or with reckless disregard for the truth. In addition, each Defendant

knew or recklessly disregarded that material facts were being misrepresented or omitted as

described above.

        63.     Information showing that Defendants acted knowingly or with reckless disregard

for the truth is peculiarly within Defendants’ knowledge and control. As the senior managers

and/or directors of Exelon, the Individual Defendants had knowledge of the details of Exelon’s

internal affairs.

        64.     The Individual Defendants are liable both directly and indirectly for the wrongs

complained of herein.        Because of their positions of control and authority, the Individual

Defendants were able to and did, directly or indirectly, control the content of the statements of



                                                  16
     Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 17 of 31 PageID #:1




Exelon. As officers and/or directors of a publicly-held company, the Individual Defendants had a

duty to disseminate timely, accurate, and truthful information with respect to Exelon’s businesses,

operations, future financial condition and future prospects. As a result of the dissemination of the

aforementioned false and misleading reports, releases and public statements, the market price of

Exelon securities was artificially inflated throughout the Class Period. In ignorance of the adverse

facts concerning Exelon’s business and financial condition which were concealed by Defendants,

Plaintiff and the other members of the Class purchased or otherwise acquired Exelon securities at

artificially inflated prices and relied upon the price of the securities, the integrity of the market for

the securities and/or upon statements disseminated by Defendants, and were damaged thereby.

        65.     During the Class Period, Exelon securities were traded on an active and efficient

market. Plaintiff and the other members of the Class, relying on the materially false and misleading

statements described herein, which the Defendants made, issued or caused to be disseminated, or

relying upon the integrity of the market, purchased or otherwise acquired shares of Exelon

securities at prices artificially inflated by Defendants’ wrongful conduct. Had Plaintiff and the

other members of the Class known the truth, they would not have purchased or otherwise acquired

said securities, or would not have purchased or otherwise acquired them at the inflated prices that

were paid. At the time of the purchases and/or acquisitions by Plaintiff and the Class, the true

value of Exelon securities was substantially lower than the prices paid by Plaintiff and the other

members of the Class. The market price of Exelon securities declined sharply upon public

disclosure of the facts alleged herein to the injury of Plaintiff and Class members.

        66.     By reason of the conduct alleged herein, Defendants knowingly or recklessly,

directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule 10b-5

promulgated thereunder.



                                                   17
     Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 18 of 31 PageID #:1




          67.   As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their respective purchases,

acquisitions and sales of the Company’s securities during the Class Period, upon the disclosure

that the Company had been disseminating misrepresented financial statements to the investing

public.

                                             COUNT II

    (Violations of Section 20(a) of the Exchange Act Against The Individual Defendants)

          68.   Plaintiff repeats and re-alleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

          69.   During the Class Period, the Individual Defendants participated in the operation

and management of Exelon, and conducted and participated, directly and indirectly, in the conduct

of Exelon’s business affairs. Because of their senior positions, they knew the adverse non-public

information about Exelon’s misstatement of income and expenses and false financial statements.

          70.   As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to Exelon’s

financial condition and results of operations, and to correct promptly any public statements issued

by Exelon which had become materially false or misleading.

          71.   Because of their positions of control and authority as senior officers, the Individual

Defendants were able to, and did, control the contents of the various reports, press releases and

public filings which Exelon disseminated in the marketplace during the Class Period concerning

Exelon’s results of operations. Throughout the Class Period, the Individual Defendants exercised

their power and authority to cause Exelon to engage in the wrongful acts complained of herein.

The Individual Defendants therefore, were “controlling persons” of Exelon within the meaning of



                                                 18
     Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 19 of 31 PageID #:1




Section 20(a) of the Exchange Act. In this capacity, they participated in the unlawful conduct

alleged which artificially inflated the market price of Exelon securities.

       72.     Each of the Individual Defendants, therefore, acted as a controlling person of

Exelon. By reason of their senior management positions and/or being directors of Exelon, each of

the Individual Defendants had the power to direct the actions of, and exercised the same to cause,

Exelon to engage in the unlawful acts and conduct complained of herein. Each of the Individual

Defendants exercised control over the general operations of Exelon and possessed the power to

control the specific activities which comprise the primary violations about which Plaintiff and the

other members of the Class complain.

       73.     By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by Exelon.


                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands judgment against Defendants as follows:

       A.      Determining that the instant action may be maintained as a class action under Rule

23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class representative;

       B.      Requiring Defendants to pay damages sustained by Plaintiff and the Class by reason

of the acts and transactions alleged herein;

       C.      Awarding Plaintiff and the other members of the Class prejudgment and post-

judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

       D.      Awarding such other and further relief as this Court may deem just and proper.




                                                 19
    Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 20 of 31 PageID #:1




                             DEMAND FOR TRIAL BY JURY

      Plaintiff hereby demands a trial by jury.

Dated: December 16, 2019

                                                       Respectfully submitted,


                                                       POMERANTZ LLP

                                                       /s/ Jeremy A. Lieberman
                                                       Jeremy A. Lieberman
                                                       J. Alexander Hood II
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                                                       Attorneys for Plaintiff




                                                  20
      Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 21 of 31 PageID #:1




                                      CERTIFICATION PURSUANT
                                    TO FEDERAL SECURITIES LAWS


          1.                Joshua Flynn
                   I, ___________________________________________________________, make this

declaration pursuant to Section 27(a)(2) of the Securities Act of 1933 (“Securities Act”) and/or Section

21D(a)(2) of the Securities Exchange Act of 1934 (“Exchange Act”) as amended by the Private Securities

Litigation Reform Act of 1995.

          2. I have reviewed a Complaint against Exelon Corporation (“Exelon” or the “Company”) and

authorize the filing of a comparable complaint on my behalf.

          3. I did not purchase or acquire Exelon securities at the direction of plaintiffs counsel, or in order to

participate in any private action arising under the Securities Act or Exchange Act.

          4.   I am willing to serve as a representative party on behalf of a class of investors who purchased or

acquired Exelon securities during the class period, including providing testimony at deposition and trial, if

necessary. I understand that the Court has the authority to select the most adequate lead plaintiff in this

action.

          5. To the best of my current knowledge, the attached sheet lists all of my transactions in Exelon

securities during the Class Period as specified in the Complaint.

          6. During the three-year period preceding the date on which this Certification is signed, I have not

sought to serve as a representative party on behalf of a class under the federal securities laws.

          7.   I agree not to accept any payment for serving as a representative party on behalf of the class as

set forth in the Complaint, beyond my pro-rata share of any recovery, except such reasonable costs and

expenses directly relating to the representation of the class as ordered or approved by the Court.
    Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 22 of 31 PageID #:1




      8.   I declare under penalty of perjury that the foregoing is true and correct.



                11/26/2019
Executed _____________________________
              (Date)



                                                 _______________________________________
                                                        (Signature)


                                                             Joshua Flynn
                                                 _______________________________________
                                                        (Type or Print Name)
 Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 23 of 31 PageID #:1




Exelon Corporation (EXC)                                              Flynn, Joshua

                             List of Purchases and Sales

                        Purchase              Number of            Price Per
      Date               or Sale              Shares/Unit         Share/Unit

Common Stock
      5/16/2019              Purchase                        1            $49.1300
      7/22/2019              Purchase                        2            $47.3600
      5/22/2019                 Sales                       (1)           $49.2300
      7/23/2019                 Sales                       (2)           $46.8700

EXC 07/19/2019 Call $50.00
        5/16/2019            Purchase                        1                 $0.8000
        5/16/2019            Purchase                        1                 $0.9000
        5/20/2019            Purchase                        1                 $0.7500
        5/22/2019               Sales                       (1)                $0.8500
        5/22/2019               Sales                       (1)                $0.8500
        5/22/2019               Sales                       (1)                $0.8500

EXC 07/19/2019 Call $55.00
        5/17/2019            Purchase                        1                 $0.0500
        5/17/2019            Purchase                        1                 $0.0500
        7/19/2019               Sales                       (2)                 Expired

EXC 08/16/2019 Call $50.00
        6/25/2019            Purchase                        1                 $0.9500
        6/25/2019            Purchase                        1                 $1.0000
        6/25/2019            Purchase                        1                 $1.0000
         7/3/2019               Sales                       (3)                $0.6500

EXC 10/18/2019 Call $48.00
         6/4/2019            Purchase                        1                 $2.0500
         6/5/2019               Sales                       (1)                $2.7500

EXC 10/18/2019 Call $50.00
        6/18/2019            Purchase                        1                 $1.8500
        6/25/2019            Purchase                        1                 $1.4500
        6/25/2019            Purchase                        1                 $1.4700
        6/25/2019            Purchase                        1                 $1.5000
        6/25/2019            Purchase                        1                 $1.5500
        6/25/2019            Purchase                        1                 $1.5500
        6/25/2019            Purchase                        1                 $1.6000
        6/25/2019            Purchase                        1                 $1.6500
        6/26/2019            Purchase                        5                 $1.1000
        6/26/2019            Purchase                        2                 $1.3000
        6/20/2019               Sales                       (1)                $2.1000


                                        Page 1 of 9
 Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 24 of 31 PageID #:1




Exelon Corporation (EXC)                                                  Flynn, Joshua

                             List of Purchases and Sales

                        Purchase                 Number of             Price Per
      Date               or Sale                 Shares/Unit          Share/Unit

         7/3/2019                  Sales                       (10)                $1.2000
         7/3/2019                  Sales                        (1)                $1.2500
         7/3/2019                  Sales                        (2)                $1.2500
         7/3/2019                  Sales                        (1)                $1.2500

EXC 01/17/2020 Call $47.00
        7/24/2019            Purchase                            3                 $1.5000
        7/24/2019               Sales                           (3)                $1.3500

EXC 01/17/2020 Call $49.00
        6/25/2019            Purchase                            1                 $2.6500
        6/26/2019            Purchase                            1                 $2.3500
        6/26/2019            Purchase                            1                 $2.5000
        6/27/2019            Purchase                            1                 $1.9000
        6/27/2019            Purchase                            2                 $1.9000
         7/1/2019            Purchase                            4                 $1.8500
        7/19/2019            Purchase                            2                 $1.9500
        7/19/2019            Purchase                            1                 $1.6500
         7/9/2019               Sales                           (1)                $2.3000
         7/9/2019               Sales                           (2)                $2.3000
         7/9/2019               Sales                           (1)                $2.3500
        7/23/2019               Sales                           (1)                $1.1500
        7/23/2019               Sales                           (8)                $1.1500

EXC 01/17/2020 Call $50.00
        5/30/2019            Purchase                            1                 $1.8500
        6/25/2019            Purchase                            1                 $2.1400
        6/25/2019            Purchase                            1                 $2.2000
        6/25/2019            Purchase                            1                 $2.3000
        6/25/2019            Purchase                            1                 $2.4000
        6/26/2019            Purchase                            2                 $1.7000
        6/26/2019            Purchase                            1                 $1.7500
        6/26/2019            Purchase                            1                 $1.7500
        6/26/2019            Purchase                            2                 $2.0000
        6/28/2019            Purchase                            1                 $1.5500
         7/5/2019            Purchase                            2                 $1.8500
         7/8/2019            Purchase                            3                 $1.8500
         7/8/2019            Purchase                            4                 $1.8500
         7/8/2019            Purchase                            3                 $1.8000
         7/8/2019            Purchase                            2                 $1.8000
         7/8/2019            Purchase                            1                 $1.7500
         7/9/2019            Purchase                            4                 $1.7500
         7/9/2019            Purchase                            3                 $1.7000
         7/9/2019            Purchase                            1                 $1.7000
         7/9/2019            Purchase                            1                 $1.7000



                                           Page 2 of 9
 Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 25 of 31 PageID #:1




Exelon Corporation (EXC)                                            Flynn, Joshua

                            List of Purchases and Sales

                       Purchase              Number of           Price Per
      Date              or Sale              Shares/Unit        Share/Unit

        7/11/2019           Purchase                        3                $2.0000
        7/11/2019           Purchase                        3                $2.0000
        7/11/2019           Purchase                        1                $1.9500
        7/11/2019           Purchase                        4                $1.9500
        7/11/2019           Purchase                        1                $1.9500
        7/11/2019           Purchase                        1                $1.9000
        7/12/2019           Purchase                        3                $1.8500
        7/15/2019           Purchase                        5                $1.8000
        7/15/2019           Purchase                        2                $1.7000
        7/15/2019           Purchase                        3                $1.7000
        7/15/2019           Purchase                        1                $1.7000
        7/15/2019           Purchase                        1                $1.7000
        7/15/2019           Purchase                        1                $1.7000
        7/16/2019           Purchase                        2                $1.6000
        7/16/2019           Purchase                        5                $1.5500
        7/16/2019           Purchase                       10                $1.5500
        7/16/2019           Purchase                        5                $1.5000
        7/16/2019           Purchase                        3                $1.5000
        7/16/2019           Purchase                        1                $1.5000
        7/16/2019           Purchase                        1                $1.4500
        7/16/2019           Purchase                        2                $1.4500
        7/16/2019           Purchase                        1                $1.4000
        7/16/2019           Purchase                        1                $1.4500
        7/18/2019           Purchase                        6                $1.5500
        7/18/2019           Purchase                        2                $1.6000
        7/18/2019           Purchase                        3                $1.6000
        7/19/2019           Purchase                        1                $1.5500
        7/19/2019           Purchase                        1                $1.5500
        7/19/2019           Purchase                        1                $1.5000
        7/19/2019           Purchase                        1                $1.5000
        7/19/2019           Purchase                        1                $1.5500
        7/19/2019           Purchase                        2                $1.5500
        7/19/2019           Purchase                        1                $1.5000
        7/19/2019           Purchase                        2                $1.5000
        7/19/2019           Purchase                        1                $1.4500
        7/19/2019           Purchase                        1                $1.4500
        7/19/2019           Purchase                        1                $1.4500
        7/19/2019           Purchase                        1                $1.4000
        7/19/2019           Purchase                        2                $1.4000
        7/19/2019           Purchase                        1                $1.3800
        7/19/2019           Purchase                        3                $1.3700
        7/19/2019           Purchase                        1                $1.4000
        7/19/2019           Purchase                        1                $1.2900
        7/19/2019           Purchase                        1                $1.3000
        7/19/2019           Purchase                        1                $1.3000



                                       Page 3 of 9
 Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 26 of 31 PageID #:1




Exelon Corporation (EXC)                                            Flynn, Joshua

                            List of Purchases and Sales

                       Purchase              Number of           Price Per
      Date              or Sale              Shares/Unit        Share/Unit

        7/19/2019           Purchase                        1                $1.3000
        7/19/2019           Purchase                        1                $1.3000
        7/19/2019           Purchase                        1                $1.3000
        7/19/2019           Purchase                        2                $1.3000
        7/19/2019           Purchase                        1                $1.2500
        7/19/2019           Purchase                        2                $1.2500
        7/19/2019           Purchase                        3                $1.2500
        7/19/2019           Purchase                        2                $1.2500
        7/19/2019           Purchase                        1                $1.2500
        7/22/2019           Purchase                        2                $1.1000
        7/23/2019           Purchase                        1                $0.9500
        7/23/2019           Purchase                       25                $0.9500
        7/23/2019           Purchase                        2                $0.9500
        7/23/2019           Purchase                        1                $0.9000
        7/23/2019           Purchase                       19                $0.8500
        7/23/2019           Purchase                        1                $0.8500
        7/23/2019           Purchase                        1                $0.8500
        7/23/2019           Purchase                        1                $0.8500
        7/23/2019           Purchase                        1                $0.8500
        7/23/2019           Purchase                        1                $0.8500
        7/23/2019           Purchase                        1                $0.8500
        7/23/2019           Purchase                        1                $0.8500
        7/23/2019           Purchase                        1                $0.8500
        7/23/2019           Purchase                        1                $0.8500
        7/23/2019           Purchase                        1                $0.8500
        7/23/2019           Purchase                        1                $0.8500
        7/23/2019           Purchase                        1                $0.8500
        7/23/2019           Purchase                        1                $0.8000
        7/24/2019           Purchase                        2                $0.6000
        7/24/2019           Purchase                        1                $0.6000
        7/24/2019           Purchase                        1                $0.6000
        7/24/2019           Purchase                        1                $0.6000
        7/24/2019           Purchase                        1                $0.6000
        7/24/2019           Purchase                        3                $0.6000
        7/24/2019           Purchase                        1                $0.6000
        7/24/2019           Purchase                        1                $0.6000
        7/24/2019           Purchase                        1                $0.6000
        7/24/2019           Purchase                        1                $0.6000
        7/24/2019           Purchase                        1                $0.6000
        7/24/2019           Purchase                        1                $0.6000
        7/24/2019           Purchase                        1                $0.6000
        7/24/2019           Purchase                        1                $0.6000
        7/24/2019           Purchase                        2                $0.5500
        7/24/2019           Purchase                        1                $0.5500
        7/24/2019           Purchase                        1                $0.5500



                                       Page 4 of 9
 Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 27 of 31 PageID #:1




Exelon Corporation (EXC)                                            Flynn, Joshua

                            List of Purchases and Sales

                       Purchase              Number of           Price Per
      Date              or Sale              Shares/Unit        Share/Unit

        7/24/2019           Purchase                        2                $0.5500
        7/24/2019           Purchase                        1                $0.5500
        7/26/2019           Purchase                        1                $0.8000
        7/26/2019           Purchase                        4                $0.8000
        7/26/2019           Purchase                        5                $0.8000
        7/26/2019           Purchase                        1                $0.8000
        7/29/2019           Purchase                        1                $0.7000
        7/29/2019           Purchase                        1                $0.7000
        7/29/2019           Purchase                        1                $0.7000
        7/29/2019           Purchase                        1                $0.7000
        7/29/2019           Purchase                        1                $0.7000
        7/29/2019           Purchase                        1                $0.7000
        7/29/2019           Purchase                        1                $0.7000
        7/31/2019           Purchase                        1                $0.6500
        7/31/2019           Purchase                        1                $0.6500
        7/31/2019           Purchase                        1                $0.6500
        7/31/2019           Purchase                        1                $0.6500
        7/31/2019           Purchase                        1                $0.6500
        7/31/2019           Purchase                        1                $0.6500
        7/31/2019           Purchase                        1                $0.6500
         8/1/2019           Purchase                        1                $0.5000
         8/1/2019           Purchase                        1                $0.4500
         8/1/2019           Purchase                        1                $0.4500
         8/1/2019           Purchase                        1                $0.5000
         8/2/2019           Purchase                        1                $0.6500
         8/2/2019           Purchase                        1                $0.5500
         8/2/2019           Purchase                        1                $0.5500
         8/2/2019           Purchase                        1                $0.5500
         8/2/2019           Purchase                        1                $0.5500
         8/5/2019           Purchase                        1                $0.5500
         8/8/2019           Purchase                        1                $0.6000
         8/9/2019           Purchase                        1                $0.5500
        8/16/2019           Purchase                        1                $0.5500
        8/16/2019           Purchase                        1                $0.4500
        8/16/2019           Purchase                        2                $0.5000
        8/16/2019           Purchase                        5                $0.5000
        8/16/2019           Purchase                        1                $0.5000
        8/21/2019           Purchase                        1                $0.4400
        8/21/2019           Purchase                        1                $0.4500
        9/16/2019           Purchase                        1                $0.8500
        9/16/2019           Purchase                        1                $0.8500
        9/16/2019           Purchase                        1                $0.8500
        9/16/2019           Purchase                       14                $0.8500
        9/18/2019           Purchase                        1                $1.0500
        9/19/2019           Purchase                        1                $0.9500



                                       Page 5 of 9
 Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 28 of 31 PageID #:1




Exelon Corporation (EXC)                                            Flynn, Joshua

                            List of Purchases and Sales

                       Purchase              Number of           Price Per
      Date              or Sale              Shares/Unit        Share/Unit

        9/19/2019           Purchase                        4                $1.0000
        9/23/2019           Purchase                        1                $1.1000
        10/2/2019           Purchase                        1                $0.9000
        10/2/2019           Purchase                        1                $0.9000
        10/2/2019           Purchase                        1                $0.9000
        10/2/2019           Purchase                        1                $0.9000
        10/2/2019           Purchase                        1                $0.9500
        10/3/2019           Purchase                        1                $0.8500
        10/3/2019           Purchase                        1                $0.8500
        10/3/2019           Purchase                        1                $0.8500
        10/3/2019           Purchase                        1                $0.8500
        10/3/2019           Purchase                        1                $0.8500
        10/3/2019           Purchase                        1                $0.8500
        10/3/2019           Purchase                        1                $0.8500
        10/3/2019           Purchase                        4                $0.9000
        10/3/2019           Purchase                        1                $0.8800
        10/3/2019           Purchase                        1                $0.9000
        10/4/2019           Purchase                        1                $1.0000
        10/4/2019           Purchase                        1                $1.0000
        10/8/2019           Purchase                        1                $1.0000
        10/8/2019           Purchase                        1                $0.9500
       10/10/2019           Purchase                        2                $0.8000
       10/10/2019           Purchase                        1                $0.8000
       10/10/2019           Purchase                        1                $0.8000
       10/10/2019           Purchase                        5                $0.8000
       10/10/2019           Purchase                        3                $0.8000
       10/10/2019           Purchase                        5                $0.8000
       10/10/2019           Purchase                        5                $0.8000
       10/11/2019           Purchase                        1                $0.8000
       10/14/2019           Purchase                        2                $0.5800
       10/14/2019           Purchase                        5                $0.5800
       10/14/2019           Purchase                        5                $0.5800
       10/14/2019           Purchase                        1                $0.5800
       10/14/2019           Purchase                        2                $0.5800
       10/14/2019           Purchase                        3                $0.5800
       10/14/2019           Purchase                        5                $0.5900
       10/14/2019           Purchase                        2                $0.5800
       10/14/2019           Purchase                        3                $0.5800
       10/14/2019           Purchase                        1                $0.5700
       10/15/2019           Purchase                       10                $0.5000
       10/15/2019           Purchase                        5                $0.5500
       10/15/2019           Purchase                        1                $0.5500
       10/15/2019           Purchase                        1                $0.5500
       10/15/2019           Purchase                        2                $0.5800
       10/15/2019           Purchase                        2                $0.5800



                                       Page 6 of 9
 Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 29 of 31 PageID #:1




Exelon Corporation (EXC)                                             Flynn, Joshua

                            List of Purchases and Sales

                       Purchase              Number of            Price Per
      Date              or Sale              Shares/Unit         Share/Unit

       10/15/2019           Purchase                        2                 $0.5800
       10/15/2019           Purchase                        4                 $0.5800
       10/15/2019           Purchase                        3                 $0.5800
       10/15/2019           Purchase                        3                 $0.5800
       10/16/2019           Purchase                        2                 $0.2800
       10/16/2019           Purchase                       50                 $0.3000
       10/16/2019           Purchase                        5                 $0.3100
       10/16/2019           Purchase                        5                 $0.3100
       10/16/2019           Purchase                        5                 $0.3100
       10/16/2019           Purchase                        5                 $0.3100
       10/16/2019           Purchase                       20                 $0.3000
       10/16/2019           Purchase                        5                 $0.3100
       10/16/2019           Purchase                        5                 $0.3100
       10/17/2019           Purchase                        1                 $0.1500
       10/17/2019           Purchase                        5                 $0.1500
       10/18/2019           Purchase                        1                 $0.2000
       10/18/2019           Purchase                        2                 $0.2000
       10/18/2019           Purchase                        1                 $0.2000
       10/18/2019           Purchase                        1                 $0.2000
       10/22/2019           Purchase                        1                 $0.2000
       10/22/2019           Purchase                        1                 $0.2000
       10/22/2019           Purchase                        1                 $0.2000
       10/22/2019           Purchase                        1                 $0.1700
       10/22/2019           Purchase                        5                 $0.1700
       10/22/2019           Purchase                        1                 $0.1700
       10/23/2019           Purchase                        1                 $0.2300
       10/23/2019           Purchase                        1                 $0.2300
       10/23/2019           Purchase                        1                 $0.2100
       10/23/2019           Purchase                        1                 $0.2000
       10/23/2019           Purchase                        1                 $0.2000
       10/24/2019           Purchase                        1                 $0.2400
       10/24/2019           Purchase                        4                 $0.2200
       10/24/2019           Purchase                        1                 $0.2500
       10/29/2019           Purchase                        1                 $0.1800
       10/29/2019           Purchase                        3                 $0.1800
       10/30/2019           Purchase                        1                 $0.2700
         6/3/2019              Sales                       (1)                $1.8000
         7/9/2019              Sales                       (1)                  $1.85
         7/9/2019              Sales                       (1)                  $1.85
         7/9/2019              Sales                       (1)                  $1.85
         7/9/2019              Sales                       (1)                  $1.85
        7/10/2019              Sales                       (1)                  $2.20
        7/10/2019              Sales                       (1)                  $2.20
        7/10/2019              Sales                       (9)                  $2.20
        7/10/2019              Sales                       (1)                  $2.25



                                       Page 7 of 9
 Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 30 of 31 PageID #:1




Exelon Corporation (EXC)                                                  Flynn, Joshua

                             List of Purchases and Sales

                        Purchase                 Number of             Price Per
      Date               or Sale                 Shares/Unit          Share/Unit

        7/17/2019                  Sales                        (9)                  $1.65
        7/17/2019                  Sales                        (1)                  $1.65
        7/25/2019                  Sales                        (5)                  $0.80
        7/25/2019                  Sales                        (1)                  $0.85
        7/25/2019                  Sales                        (1)                  $0.85
        7/25/2019                  Sales                        (1)                  $0.85
        7/25/2019                  Sales                        (1)                  $0.85
        7/25/2019                  Sales                        (1)                  $0.85
        8/27/2019                  Sales                        (1)                  $0.80
         9/3/2019                  Sales                        (1)                  $1.15
        9/10/2019                  Sales                       (25)                  $1.30
        9/10/2019                  Sales                       (15)                  $1.30
        9/10/2019                  Sales                        (1)                  $1.30
        9/10/2019                  Sales                        (1)                  $1.25
        9/11/2019                  Sales                        (7)                  $1.38
        9/11/2019                  Sales                        (8)                  $1.38
        9/11/2019                  Sales                        (1)                  $1.35
        9/11/2019                  Sales                        (5)                  $1.30
        9/11/2019                  Sales                        (1)                  $1.30
        9/11/2019                  Sales                        (9)                  $1.30
        9/11/2019                  Sales                       (10)                  $1.30
        9/11/2019                  Sales                        (1)                  $1.30
        9/20/2019                  Sales                        (5)                  $1.20
        9/24/2019                  Sales                        (5)                  $1.35
        9/24/2019                  Sales                        (1)                  $1.35
        9/26/2019                  Sales                        (1)                  $1.45
        9/26/2019                  Sales                        (1)                  $1.45
        9/26/2019                  Sales                        (1)                  $1.45
        9/26/2019                  Sales                        (1)                  $1.45
        9/26/2019                  Sales                        (1)                  $1.47
        9/26/2019                  Sales                        (1)                  $1.46
        9/26/2019                  Sales                        (1)                  $1.45
        9/26/2019                  Sales                        (1)                  $1.45
        9/26/2019                  Sales                        (1)                  $1.45
        9/26/2019                  Sales                        (1)                  $1.40
        9/26/2019                  Sales                        (1)                  $1.40

EXC 04/17/2020 Call $50.00
       10/18/2019            Purchase                            1                 $0.5000
       10/18/2019            Purchase                            1                 $0.5000
       10/24/2019               Sales                           (1)                  $0.70
       10/24/2019               Sales                           (1)                  $0.70

EXC 01/15/2021 Call $55.00
        9/12/2019            Purchase                           1                  $1.2500



                                           Page 8 of 9
 Case: 1:19-cv-08209 Document #: 1 Filed: 12/16/19 Page 31 of 31 PageID #:1




Exelon Corporation (EXC)                                           Flynn, Joshua

                            List of Purchases and Sales

                       Purchase              Number of          Price Per
      Date              or Sale              Shares/Unit       Share/Unit

        9/16/2019           Purchase                       1                $1.0000
        9/16/2019           Purchase                       2                $1.0000
        9/16/2019           Purchase                       1                $1.0000
        9/16/2019           Purchase                       1                $1.0000
        9/16/2019           Purchase                       1                $1.0000
        9/16/2019           Purchase                       3                $1.0000
        9/17/2019           Purchase                       5                $1.0000
        10/7/2019           Purchase                       1                $1.2500
       10/17/2019           Purchase                       1                $0.6000
       10/17/2019           Purchase                       1                $0.6000




                                       Page 9 of 9
